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                                                QUINN EMANUEL URQUHART &
Carolyn Lamm (pro hac vice)                     SULLIVAN LLP
Hansel Pham (pro hac vice)                      JOHN B. QUINN, SBN 90378
Nicolle Kownacki (pro hac vice)                 johnquinn@quinnemanuel.com
701 Thirteenth Street, NW                       DOMINIC SURPRENANT, SBN 165861
Washington, District of Columbia 20005          dominicsurprenant@quinnemmanuel.com
Telephone: (202) 626-3600                       KEVIN TERUYA, SBN 235916
Facsimile: (202) 639-9355                       kevinteruya@quinnemanuel.com
                                                865 South Figueroa Street, 10th Floor
clamm@whitecase.com                             Los Angeles, California 90017
hpham@whitecase.com                             Telephone: 213.443.3000
nkownacki@whitecase.com
                                                JOHN BASH (pro hac vice)
Jack E. Pace III (pro hac vice)                 johnbash@quinnemanuel.com
Kimberly A. Havlin (pro hac vice)               QUINN EMANUEL URQUHART &
1221 Avenue of the Americas                     SULLIVAN, LLP
                                                300 West 6th Street, Suite 2010
New York, New York 10020                        Austin, TX 78701-3901
Telephone: (212) 819-8200                       Telephone: (737) 667 6100
Facsimile: (212) 354-8113
jpace@whitecase.com                             ROBERT P. FELDMAN, SBN 69602
kim.havlin@whitecase.com                        bobfeldman@quinnemanuel.com
                                                555 Twin Dolphin Dr., 5th Floor
Heather M. Burke (SBN 284100)                   Redwood Shores, California 94065
                                                Telephone: 650.801.5000
3000 El Camino Real                             Facsimile: 650.801.5100
2 Palo Alto Square, Suite 900
Palo Alto, CA 94306-2109
Telephone: (650) 213-0300
Facsimile: (650) 213-8158
hburke@whitecase.com

Attorneys for Non-Parties The Public Investment Fund of the
Kingdom of Saudi Arabia and His Excellency Yasir O. Al-Rumayyan.

                       UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                                SAN JOSE DIVISION
MATT JONES, BRYSON DECHAMBEAU, Case No. 5:22-cv-04486-BLF
PETER UIHLEIN, and LIV GOLF INC.,
                        Plaintiffs,        THE PUBLIC INVESTMENT FUND OF
                                           THE KINGDOM OF SAUDI ARABIA
     v.                                    AND YASIR OTHMAN AL-
PGA TOUR, INC.,                            RUMAYYAN’S MOTION FOR STAY OF
                                           DISCOVERY PENDING REVIEW
                        Defendant and      PURSUANT TO RULE 72
                        Counter-Plaintiff,
                                           Judge: Hon. Beth Labson Freeman
     v.
                                           Date Filed: August 3, 2022
LIV GOLF INC.,
                                           Trial Date: January 8, 2024
           Counter-Defendant.



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 1 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT on a date and time to be determined, or as soon as the

 3 matter may be heard, before the Honorable Beth Labson Freeman of the United States District Court,

 4 Northern District of California at Courtroom 3 – 5th Floor, 280 South 1st Street, San Jose,

 5 California, non-parties The Public Investment Fund of the Kingdom of Saudi Arabia (“PIF”) and

 6 His Excellency Yasir Othman Al-Rumayyan (“HE”) will and hereby do move for a stay of the

 7 United States Magistrate Judge’s Order on Motion of PGA Tour, Inc. to Compel Compliance With

 8 Subpoenas to Third Parties [PIF] and [HE] (the “Order,” Dkt. No. 265). Further, PIF and HE will

 9 and hereby do move for a stay of all discovery against PIF and HE, including pursuant to all potential

10 subpoenas, if any, that have been or may be issued after the Order by any party to the above-

11 captioned case. PIF and HE request this stay of the Order and stay of all discovery pending the

12 United States District Court’s review of the Order in accordance with 28 U.S.C. § 636, Federal Rule

13 of Civil Procedure 72, and Civil Local Rule 72.

14          The motion is based upon this notice of motion, the supporting memorandum of points and

15 authorities, the exhibits attached thereto, and such evidence as may be requested or permitted by the

16 Court.

17 Dated: February 28, 2023               By: /s/ Carolyn B. Lamm
18
                                              Carolyn Lamm (pro hac vice)
19                                            Hansel Pham (pro hac vice)
                                              Nicolle Kownacki (pro hac vice)
20                                            701 Thirteenth Street, NW
21                                            Washington, District of Columbia 20005
                                              Telephone: (202) 626-3600
22                                            Facsimile: (202) 639-9355
                                              clamm@whitecase.com
23                                            hpham@whitecase.com
                                              nkownacki@whitecase.com
24

25                                            Jack E. Pace III (pro hac vice)
                                              Kimberly A. Havlin (pro hac vice)
26                                            1221 Avenue of the Americas
                                              New York, New York 10020
27                                            Telephone: (212) 819-8200
                                              Facsimile: (212) 354-8113
28
                                              jpace@whitecase.com
                                                      -ii-
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 1                                  kim.havlin@whitecase.com

 2                                  Heather M. Burke (SBN 284100)
                                    3000 El Camino Real
 3                                  2 Palo Alto Square, Suite 900
 4                                  Palo Alto, CA 94306-2109
                                    Telephone: (650) 213-0300
 5                                  Facsimile: (650) 213-8158
                                    hburke@whitecase.com
 6
                                    JOHN B. QUINN, SBN 90378
 7                                  johnquinn@quinnemanuel.com
 8                                  DOMINIC SURPRENANT, SBN 165861
                                    dominicsurprenant@quinnemmanuel.com
 9                                  KEVIN TERUYA, SBN 235916
                                    kevinteruya@quinnemanuel.com
10                                  QUINN EMANUEL URQUHART & SULLIVAN LLP
                                    865 South Figueroa Street, 10th Floor
11
                                    Los Angeles, California 90017
12                                  Telephone: 213.443.3000

13                                  JOHN BASH
                                    johnbash@quinnemanuel.com
14                                  QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                    300 West 6th Street, Suite 2010
15
                                    Austin, TX 78701-3901
16                                  Telephone: (737) 667 6100
                                    Facsimile: (737) 667 6110
17
                                    ROBERT P. FELDMAN, SBN 69602
18                                   bobfeldman@quinnemanuel.com
                                    QUINN EMANUEL URQUHART & SULLIVAN LLP
19
                                    555 Twin Dolphin Dr., 5th Floor
20                                  Redwood Shores, California 94065
                                    Telephone: 650.801.5000
21                                  Facsimile: 650.801.5100
22                                  Attorneys for Non-Parties The Public Investment Fund of
23                                  the Kingdom of Saudi Arabia and His Excellency
                                    Yasir O. Al-Rumayyan
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 1          The Public Investment Fund (“PIF”) and His Excellency Yasir Othman Al-Rumayyan

 2 (“HE”) respectfully move for a stay of the United States Magistrate Judge’s Order of February 9,

 3 2023 (the “Order,” Dkt. No. 265) pending this Court’s resolution of their motion for review of the

 4 Order pursuant to Federal Rule of Civil Procedure 72 (the “Rule 72 Motion”).

 5                                   PRELIMINARY STATEMENT
 6          On February 9, 2023, the Magistrate Judge issued an extraordinary order compelling PIF, a

 7 sovereign instrumentality of the Kingdom of Saudi Arabia, and HE, a sitting minister of the Saudi

 8 government, to provide discovery in this matter pursuant to Rule 45 subpoenas. PIF and HE are

 9 entitled to challenge these rulings to this Court pursuant to FRCP 72. Without a stay, however, PIF

10 and HE will be required to provide discovery, and lose the very legal rights that they are seeking to

11 vindicate, before they can be heard.

12          In particular, PIF and HE have raised substantial challenges to the Magistrate Judge’s ruling

13 under the Foreign Sovereign Immunities Act (“FSIA”), the common law applicable to a foreign

14 public official’s sovereign immunity, the doctrine of international comity, and a court’s ability to

15 amend and expand a bilateral agreement regarding service of process. Discovery should be stayed

16 while these challenges are pending, as without a stay, PIF and HE would face classic irreparable

17 harm in having provided discovery that cannot be taken back. The Ninth Circuit has held that this

18 is not permissible. See Phaneuf v. Republic of Indon., 106 F.3d 302, 305 (9th Cir. 1997) (discovery
19 prior to “final determination” of immunity under the FSIA was “improvident[]”). Furthermore,

20 irreparable harm is particularly acute here, because by providing the requested discovery, PIF and

21 HE would violate Saudi law. The Magistrate Judge recognized that “PIF’s governing law and Saudi

22 law prohibit disclosure of the information sought by the subpoenas,” Order 41, and as further shown

23 in the attached declaration of Mr. Fahad Nasser Alarfaj, PIF and HE may be subjected to “strict and

24 aggravated penalties” in the Kingdom of Saudi Arabia if discovery is allowed to proceed. See Ex.

25 1, Decl. of Mr. Fahad Nasser Alarfaj Concerning Saudi Law Under Federal Rule of Civil Procedure

26 44.1 (the “Alarfaj Declaration”) ¶ 37 (quoting Saudi Arabia’s Ministry of Justice).

27          Resolution of the pending FRCP 72 Motion accordingly implicates “serious legal questions”

28 under U.S. law, and the absence of a stay would subject HE to irreparable harm under both U.S. and

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 1 Saudi law. Any prejudice to the Tour is nothing other than ordinary litigation delay with respect to

 2 third-party discovery. As discussed below, courts regularly stay orders encumbering foreign

 3 sovereigns while their defenses under the FSIA are litigated. This Court should do so here.

 4                                          LEGAL STANDARD
 5            In deciding whether to stay the Magistrate Judge’s Order, this Court must consider (1)

 6 “whether the applicant will be irreparably injured absent a stay;” (2) “whether the stay applicant”

 7 has shown at least a “fair prospect” of success on the pending challenge by raising “serious legal

 8 questions;” (3) whether the non-movant will be “substantially injure[d]” by the “issuance of the

 9 stay;” and finally, (4) “where the public interest lies.” See Leiva-Perez v. Holder, 640 F.3d 962,

10 964, 967-68 (9th Cir. 2011) (citation and internal quotation marks omitted); Alvarez v. LaRose, No.

11 3:20-cv-00782-DMS-AHG, 2020 U.S. Dist. LEXIS 173253, at *5 (S.D. Cal. Sep. 21, 2020)

12 (applying “same four-factor test” in “considering whether to grant a motion to stay the effect of a

13 magistrate judge’s order”); In re Republic of Ecuador, No. 11-mc-80171 CRB (NC), 2012 U.S. Dist.

14 LEXIS 207374, at *7 (N.D. Cal. Mar. 30, 2012) (same). As in other similar contexts, “[t]he first

15 two factors are the most critical.” Owino v. Corecivic, Inc., No. 17-CV-1112 JLS (NLS), 2021 U.S.

16 Dist. LEXIS 140991, at *5 (S.D. Cal. July 28, 2021) (granting stay pending appeal in part and citing,

17 e.g., Nken v. Holder, 556 U.S. 418, 434 (2009)).

18            These four factors are to be “balanced,” such that “a stronger showing of one element may
19 offset a weaker showing of another.” Leiva-Perez, 640 F.3d at 964-66 (describing this “flexible

20 approach” as a “sliding scale”); see also Salhotra v. Simpson Strong-Tie Co., No. 19-cv-07901-

21 TSH, 2022 U.S. Dist. LEXIS 67493, at *4 (N.D. Cal. Apr. 12, 2022) (staying all litigation pending

22 ruling on petition for permission to appeal); Brown v. Wal-Mart Stores, Inc., No. 5:09-CV-03339-

23 EJD, 2012 U.S. Dist. LEXIS 163731, at *4-5 (N.D. Cal. Nov. 15, 2012) (staying discovery and all

24 other proceedings).

25                                              ARGUMENT
26    I.      PIF AND HE WILL BE IRREPARABLY HARMED ABSENT A STAY
27            Without a stay, PIF and HE will be irreparably harmed in at least two respects.

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 1          First, PIF and HE will be irreparably harmed because proceeding with discovery will

 2 “preclude the district judge’s ability to review . . . [the] Rule 72 objection, which would effectively

 3 deprive [PIF and HE] of their right to reconsideration of the Discovery Order by the district judge

 4 altogether.” Alvarez, 2020 U.S. Dist. LEXIS 173253, at *7; see also Gatnino v. KPC Healthcare

 5 Holdings, Inc., No. 5:20-cv-01126-SB-SHK, 2021 U.S. Dist. LEXIS 90097, at *4 (C.D. Cal. May

 6 10, 2021) (staying “compliance with the Discovery Order until such time as the District Judge has

 7 ruled on defendant’s Motion for Review” because “to do otherwise would deny defendant of its

 8 right to have Local Rule 72 District Judge review of the Discovery Order”) (quoting Zargarian v.

 9 Bmw of N. Am., LLC, No. CV 18-4857-RSWL (PLAx), 2019 U.S. Dist. LEXIS 200587, at *3 (C.D.

10 Cal. Oct. 15, 2019)).

11          This is especially pronounced in the sovereign context, because sovereign immunity is

12 “effectively lost” if a sovereign entity is forced to litigate. See Gupta v. Thai Airways Int’l, Ltd.,

13 487 F.3d 759, 763 n.6 (9th Cir. 2007); Phaneuf, 106 F.3d at 305 (reversing the lower court because

14 “[s]ubject matter jurisdiction under the FSIA . . . must be decided before the suit can proceed,”

15 including any “further discovery”); see also Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (“Until

16 this threshold immunity question is resolved, discovery should not be allowed.”); Russell v. Harris

17 County, No. H-19-226, 2021 U.S. Dist. LEXIS 118762, at *7 (S.D. Tex. June 25, 2021) (granting

18 motion to stay pending appeal of sovereign immunity issues because “until resolution of the
19 threshold question of the application of an immunity defense, discovery should not be allowed”).

20          Second, the need for a stay is particularly acute in the present case because the Order requires

21 PIF and HE to violate Saudi law, and to risk substantial penalties. Alarfaj Decl. ¶ 37 (quoting the

22 analysis of Saudi Arabia’s Ministry of Justice concerning the applicable penalties under Saudi

23 Arabia’s 2011 Penal Law on Dissemination and Disclosure of Classified Information and

24 Documents). The PIF Law—as well as a wide range of other Saudi laws, decrees, and regulations

25 applicable to PIF officials, board members, and employees—prohibits the PIF and HE from

26 complying with the subpoena. Alarfaj Decl. ¶¶ 20-27 (summarizing the applicable confidentiality

27 obligations under Saudi law). Any breach of such confidentiality obligations is punishable by terms

28 of imprisonment as long as 20 years and payment of fines exceeding US$ 250,000. Id. ¶ 36. Saudi
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 1 Arabia’s Ministry of Justice has—exceptionally—allowed publication of two “Circulars” in 2016

 2 and 2018 that confirm the enforceability of the Saudi law confidentiality regime in accordance with

 3 the 2011 Penal Law. Id. ¶ 37. The Magistrate Judge herself “accept[ed] . . . that PIF’s governing

 4 law and Saudi law prohibit disclosure of the information sought by the [Tour’s] subpoenas.” Order

 5 41.

 6            As the Ninth Circuit has repeatedly held, subjecting a foreign recipient of a subpoena to such

 7 potential legal consequences in its home jurisdiction “clearly constitutes severe prejudice.”

 8 Philippine Nat’l Bank v. United States Dist. Court (In re Philippine Nat’l Bank), 397 F.3d 768, 774

 9 (9th Cir. 2005) (“Requiring the [foreign entity] ‘to choose between being in contempt of court and

10 violating [foreign] law clearly constitutes severe prejudice that could not be remedied on direct

11 appeal.’” (quoting Credit Suisse v. United States Dist. Court, 130 F.3d 1342, 1346 (9th Cir. 1997))).

12 Subpoena recipients should not be forced to choose “between the Scylla of contempt sanctions and

13 the Charybdis of possible criminal prosecution.” Richmark Corp. v. Timber Falling Consults., 959

14 F.2d 1468, 1477 (9th Cir. 1992); see also Societe Internationale Pour Participations Industrielles

15 Et Commerciales, S. A. v. Rogers, 357 U.S. 197, 211 (1958) (“It is hardly debatable that fear of

16 criminal prosecution constitutes a weighty excuse for nonproduction, and this excuse is not

17 weakened because the laws preventing compliance are those of a foreign sovereign.”).                  By

18 definition, this “severe prejudice” cannot “be remedied” on appeal. Philippine Nat’l Bank, 397 F.3d
19 at 774.

20            The fact that PIF and HE are not parties to the instant litigation also counsels against

21 compelling production without further review.              In re 28 U.S.C. § 1782 by Nikon Corp. v.

22 GlobalFoundries U.S., Inc., No. 17-mc-80071-BLF, 2017 U.S. Dist. LEXIS 155692, at *7-8 (N.D.

23 Cal. Sep. 22, 2017) (finding that “[g]ood cause exists to stay” the magistrate judge’s discovery order

24 for the short period of time necessary to evaluate a challenge to a burdensome production on “a third

25 party who wants no part of them”).

26   II.      THE RULE 72 MOTION RAISES SERIOUS LEGAL QUESTIONS
27            To justify a stay of discovery, a movant need only demonstrate that the appeal or other

28 challenge (e.g., under Rule 72) has raised “serious legal questions.” Leiva-Perez, 640 F.3d at 966-
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 1 68; Salhotra, 2022 U.S. Dist. LEXIS 67493, at *5 (staying all litigation pending ruling on petition

 2 for permission to appeal upon giving the movants “the benefit of the doubt” and finding “that they

 3 have arguably raised serious legal questions”). In their Rule 72 Motion, PIF and HE have raised a

 4 substantial range of serious legal questions under the FSIA, the common law governing foreign

 5 public officials’ sovereign immunity, and the doctrine of international comity, among other legal

 6 issues, as summarized below.

 7          First, in order for the commercial activity exception under the FSIA to apply (28 U.S.C. §

 8 1605(a)(2)), the complaint must be “based upon” the sovereign’s conduct, meaning that the

 9 sovereign’s conduct allegedly caused the plaintiff’s injury. OBB Personenverkehr AB v. Sachs, 577

10 U.S. 27, 35 (2015) (explaining that the “gravamen” of the claim must be the sovereign’s conduct).

11 Here the basis for “LIV’s claim” is that “PGA has illegally prevented it from entering the relevant

12 markets.” See Order 21. Rather than being “based upon” any conduct of PIF, the “gravamen” of

13 LIV’s antitrust claim is the Tour’s anticompetitive conduct, designed to foreclose LIV’s

14 competitive entry into the market. See Dkt. No. 83 ¶¶ 3, 98. Likewise, the “gravamen” of the Tour’s

15 counterclaim is LIV’s—not PIF’s—alleged conduct in recruiting and signing players; there is no

16 evidence that PIF itself “interfered with PGA’s contractual relationships with the Plaintiffs who now

17 play for LIV” (Order 21) or that PIF attempted to persuade Tour members to remain with the Tour

18 while breaking its rules (see Dkt. No. 271 at 3, 5). The Order thus erred in its central holding
19 regarding PIF’s immunity under the FSIA. See Order 22-24.

20          Second, the Order improperly attributed LIV’s alleged conduct to PIF and concluded that

21 PIF’s conduct had a “direct effect” in the United States under the FSIA—despite elsewhere in the

22 Order explicitly disclaiming any such “alter ego or agency theory.” Compare Order 23 with id. at

23 39. Such reasoning is not only internally inconsistent, it also violates the Supreme Court’s

24 presumption against corporate veil piercing without substantial evidence in the context of foreign

25 sovereign immunity. See First Nat’l City Bank v. Banco Para El Comercio Exterior de Cuba

26 (“Bancec”), 462 U.S. 611, 628 (1983); Doe v. Holy See, 557 F.3d 1066, 1078-79 (9th Cir. 2009)

27 (applying Bancec to the question whether acts by “affiliated domestic corporation” may “render a

28 foreign sovereign amenable to suit”); Arch Trading Corp. v. Republic of Ecuador, 839 F.3d 193,
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 1 198 (2d Cir. 2016) (foreign sovereigns “‘are presumed to be separate’ from other distinct legal

 2 entities”). The Order’s reasoning substantially rewrites and diminishes the “direct effect” standard

 3 that Congress incorporated into 28 U.S.C. § 1605(a)(2) by suggesting that foreign sovereign

 4 investors can cause a “direct effect” in the United States based only on planning and oversight of an

 5 investment—an indirect effect, at best.

 6          Third, there is no support for the Order’s holding that foreign official immunity is subject to

 7 a commercial activity exception, and other courts have specifically rejected this argument. See

 8 Weiming Chen v. Ying-Jeou Ma, 2013 WL 4437607, at *4 (S.D.N.Y. Aug. 19, 2013) (“[T]he

 9 commercial activity exception does not apply to a foreign official who has undertaken a commercial

10 transaction on behalf of his state.”). The Order relied exclusively on inapposite case law—two

11 decisions involving foreign sovereign instrumentalities—and failed to cite a single decision

12 concerning a foreign public official. Order 32 (relying on analysis of immunity for “a commercial

13 bank” under U.S. v. Turkiye Halk Bankasi A.S., 16 F.4th 336 (2d Cir. 2021) and a range of corporate

14 “entities” under U.S. v. Pangang Grp. Co. Ltd., 2022 WL 580790, at *7-9 (N.D. Cal. Feb. 25, 2022)).

15 The Order’s analysis is also contrary to the Supreme Court’s holding that the category of a foreign

16 sovereign’s “agency or instrumentality” does not include “an official acting on behalf of the foreign

17 state.” Samantar v. Yousuf, 560 U.S. 305, 319 (2010); see also id. at 321 (“[T]he relationship

18 between a state’s immunity and an official’s immunity is more complicated . . . . And historically,
19 the Government sometimes suggested immunity under the common law for individual officials even

20 when the foreign state did not qualify.”).

21          Fourth, the Court stated that the parties “agree that the relevant issue in relation to the waiver

22 exception to sovereign immunity under FSIA is whether PIF authorized the filing of this lawsuit.”

23 Order 26. That is not correct. PIF and HE disputed that a sovereign authorizing another party to

24 file a lawsuit could ever qualify as waiver—a proposition that violates bedrock principles of

25 corporate law and the high standard for a waiver under the FSIA. See Dkt. No. 166 at 11 (stating

26 that the Tour’s argument for waiver because PIF purportedly “authorized” LIV to enter this lawsuit

27 is “the opposite of the ‘strict construction’ required by the case law” and LIV’s “actions cannot be

28 attributed to PIF without alter ego or agency”); Jan. 13, 2023 H’rg Tr. 62:17-21 (“[W]e’re aware of
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 1 no case ever where a sovereign was deemed to waive its own immunity from suit in the United

 2 States because it authorized . . . or even directed another entity, a separate legal person[,] to engage

 3 in litigation.”). The Order cites no precedent for the view that authorizing litigation by another

 4 entity could constitute a waiver under the FSIA. Order 26. Nor could such authorization constitute

 5 the “‘clear and unambiguous’ language or conduct” necessary to show “that the foreign state

 6 intended to waive its sovereign immunity.” Aldossari v. Ripp, 49 F.4th 236, 250 (3d Cir. 2022).

 7          Fifth, the Order’s waiver analysis conflicts with basic tenets of corporate law by treating

 8 LIV and PIF as indistinguishable despite multiple corporate layers separating them. The Magistrate

 9 Judge found that the Tour had made “an initial showing” that PIF implicitly waived its sovereign

10 immunity “by presenting evidence that” an agreement related to a corporate parent of LIV gave

11 certain PIF-appointed directors on that corporate parent’s board a veto right regarding certain acts,

12 including as to significant litigation. Order 26. The Order cited no authority for the proposition that

13 a decision by parent-appointed directors could be attributed to the parent itself (even assuming that

14 the directors here authorized the litigation, for which there is no evidence).

15          Sixth, the Magistrate Judge wrongly refused to receive further evidence of Saudi law as

16 required under Rule 44.1 of the Federal Rules of Civil Procedure. PIF and HE’s administrative

17 motion to submit materials on Saudi law (Dkt. No. 211) should have been granted. Such material

18 and testimony can be considered at any time. De Fontbrune v. Wofsy, No. 14-15790, 2016 U.S.
19 App. LEXIS 20416, at *12-13 (9th Cir. Nov. 14, 2016); Northrop Grumman Ship Sys. v. Ministry

20 of Def., 575 F.3d 491, 496-98 (5th Cir. 2009) (concluding the district court “abused its discretion by

21 relying solely on the length of [18 month] delay” in rejecting Venezuela’s proffer of evidence

22 concerning Venezuelan law). This Court must assess, in view of actual Saudi law, the serious risk

23 of penalties that a sovereign instrumentality and a sitting government Minister face as a result of the

24 Magistrate Judge’s order.

25          Seventh, having refused to consider these critical Saudi legal materials, the Magistrate Judge

26 found that the evidence on Saudi Arabia’s important sovereign interests was lacking. Order at 42-

27 43. That is, even as the Magistrate Judge recognized that the most important factor to the

28 international comity analysis test is the balancing of national interests, Order 42, she refused to
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 1 admit the very materials that would have demonstrated the strong Saudi governmental interests at

 2 issue. E.g., Alarfaj Decl. ¶¶ 6, 14-19 (describing the “interrelationship” between the PIF’s activities

 3 and the public interest, including Saudi Arabia’s “highest-priority economic reforms”).

 4            Eighth, the Order assessed U.S. interests as if PIF and HE were defendants and not non-

 5 parties, overlooking that “non-party status mitigates against” the United States’ mere “general

 6 interest in enforcing its laws” and protecting litigants’ rights. See Tiffany (NJ) LLC v. Qi Andrew,

 7 276 F.R.D. 143, 160 (S.D.N.Y. 2011); see also, e.g., Leibovitch v. Islamic Republic of Iran, 188 F.

 8 Supp. 3d 734, 757-58 (N.D. Ill. 2016) (“[T]he Banks’ status as non-parties does attenuate the United

 9 States interest in enforcing discovery obligations.”).

10 III.       THE MOTION TO STAY WILL NOT PREJUDICE THE TOUR
11            A stay of discovery will not cause any cognizable prejudice to the Tour. Courts in the Ninth

12 Circuit have frequently held that “simple delay” is insufficient to establish “concrete prejudice.”

13 E.g., Cal. Crane Sch., Inc. v. Google LLC, No. 21-cv-10001-HSG, 2022 U.S. Dist. LEXIS 144480,

14 at *16 (N.D. Cal. Aug. 12, 2022) (granting motion to stay); see also Confederated Tribes of Chehalis

15 Indian Reservation v. Lujan, 928 F.2d 1496, 1500 (9th Cir. 1991) (“[P]laintiff’s interest in litigating

16 a claim may be outweighed by a [party’s] interest in maintaining its sovereign immunity.”). Indeed,

17 other discovery in the case “separate from these [third] parties” is proceeding as scheduled. Feb.

18 24, 2023 Hr’g Tr. 29:17-30:2; see also Gallagher & Kennedy PA v. City of Phx., No. 2:16-CV-
19 4447-DAE, 2021 U.S. Dist. LEXIS 130077, at *23 (D. Ariz. July 13, 2021) (affirming magistrate

20 judge’s order staying proceedings on certain claims, including discovery, in part because there

21 would be no “delay” in “the continuing ongoing discovery” for the remainder of the action). Any

22 delay is “outweighed by prejudice to [PIF and HE] invoking sovereign immunity.” Republic of the

23 Phil. v. Pimentel, 553 U.S. 851, 872 (2008); see also Phaneuf, 106 F.3d at 305 (immunity under the

24 FSIA must be determined before discovery as a matter of law).

25   IV.      THE PUBLIC INTEREST FAVORS STAYING DISCOVERY
26            Finally, the public interest likewise weighs heavily in favor of granting the stay. It is well-

27 established that the public interest of the United States is implicated by the need to respect foreign

28 sovereigns’ “immunity from suit” and “international comity.” Bolivarian Republic of Venezuela v.
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 1 Helmerich & Payne Int’l Drilling Co., 581 U.S. 170, 171, 179 (2017); see also Practical Concepts,

 2 Inc. v. Republic of Bolivia, 811 F.2d 1543, 1552 (D.C. Cir. 1987) (Ginsburg, J.) (reasoning that the

 3 “public interest” includes “foreign policy ramifications” of U.S. judicial decisions (citation

 4 omitted)); Nat’l City Bank of N.Y. v. Republic of China, 348 U.S. 356, 362 (1955) (emphasizing the

 5 U.S. interest in the “standards of public morality, fair dealing, reciprocal self-interest, and respect

 6 for the ‘power and dignity’ of the foreign sovereign”).

 7                                            CONCLUSION
 8          PIF and HE respectfully request that this Court stay the Order pending this Court’s

 9 consideration of the Rule 72 Motion.

10

11 Dated: February 28, 2023               By: /s/ Carolyn B. Lamm
12
                                              Carolyn Lamm (pro hac vice)
13                                            Hansel Pham (pro hac vice)
                                              Nicolle Kownacki (pro hac vice)
14                                            701 Thirteenth Street, NW
15                                            Washington, District of Columbia 20005
                                              Telephone: (202) 626-3600
16                                            Facsimile: (202) 639-9355
                                              clamm@whitecase.com
17                                            hpham@whitecase.com
                                              nkownacki@whitecase.com
18
19                                            Jack E. Pace III (pro hac vice)
                                              Kimberly A. Havlin (pro hac vice)
20                                            1221 Avenue of the Americas
                                              New York, New York 10020
21                                            Telephone: (212) 819-8200
                                              Facsimile: (212) 354-8113
22
                                              jpace@whitecase.com
23                                            kim.havlin@whitecase.com

24                                            Heather M. Burke (SBN 284100)
                                              3000 El Camino Real
25                                            2 Palo Alto Square, Suite 900
                                              Palo Alto, CA 94306-2109
26                                            Telephone: (650) 213-0300
27                                            Facsimile: (650) 213-8158
                                              hburke@whitecase.com
28
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 1
                                     JOHN B. QUINN, SBN 90378
 2                                   johnquinn@quinnemanuel.com
                                     DOMINIC SURPRENANT, SBN 165861
 3
                                     dominicsurprenant@quinnemmanuel.com
 4                                   KEVIN TERUYA, SBN 235916
                                     kevinteruya@quinnemanuel.com
 5                                   QUINN EMANUEL URQUHART & SULLIVAN LLP
                                     865 South Figueroa Street, 10th Floor
 6                                   Los Angeles, California 90017
                                     Telephone: 213.443.3000
 7

 8                                   JOHN BASH
                                     johnbash@quinnemanuel.com
 9                                   QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                     300 West 6th Street, Suite 2010
10                                   Austin, TX 78701-3901
11                                   Telephone: (737) 667 6100
                                     Facsimile: (737) 667 6110
12
                                     ROBERT P. FELDMAN, SBN 69602
13                                    bobfeldman@quinnemanuel.com
                                     QUINN EMANUEL URQUHART & SULLIVAN LLP
14                                   555 Twin Dolphin Dr., 5th Floor
15                                   Redwood Shores, California 94065
                                     Telephone: 650.801.5000
16                                   Facsimile: 650.801.5100

17                                   Attorneys for Non-Parties The Public Investment Fund of
                                     the Kingdom of Saudi Arabia and His Excellency
18                                   Yasir O. Al-Rumayyan
19

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 1                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
 2         Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

 3 concurrence in the filing of the document has been obtained from each of the other signatories to

 4 this document.

 5

 6
           Executed on February 28, 2023.
 7
                                                            /s/ Carolyn B. Lamm____________________
 8                                                          Carolyn B. Lamm

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